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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


VARISCITE NY FOUR, LLC AND VARISCITE NY
FIVE, LLC,
                                                            ATTORNEY AFFIRMATION IN
                       Plaintiffs,                          SUPPORT OF PLAINTIFFS’
                                                            ORDER TO SHOW CAUSE
       v.

NEW YORK STATE CANNABIS CONTROL                             Civil Action No.: 1:23-cv-01599
BOARD; NEW YORK STATE OFFICE OF                             (DNH/CFH)
CANNABIS MANAGEMENT; TREMAINE
WRIGHT; AND CHRIS ALEXANDER,
                       Defendants.



       JEFFERY M. JENSEN, ESQ., an attorney admitted to practice law before this Honorable

Court pro hac vice, affirms under penalty of perjury the following:

       1.      I am an attorney licensed to practice law in the State of New York. I am counsel

for Plaintiffs Variscite NY Four, LLC (“Variscite Four”) and Variscite NY Five, LLC (“Variscite

Five”) (collectively “Plaintiffs”) in the above-entitled action. I respectfully submit this affirmation

in support of Plaintiffs’ Order to Show Cause.

       2.      This affirmation is made upon information and belief, except as to those portions

where your affirmant has actual knowledge thereof.

       3.      On or about December 18, 2023, I submitted the Adult Use Cannabis Retail

Dispensary Applications for Variscite Four and for Variscite Five.

       4.      Variscite Four is majority owned (51%) by an individual who was convicted of a

cannabis offense in California under California law. He was not convicted of a cannabis offense

in New York or under New York law. He lived in an area the City of Los Angeles designated as a


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disproportionately impacted area for cannabis enforcement for more than seven years. He resides

in Los Angeles County and has a household income less than 80% of the median household income

of Los Angeles County. I submitted paperwork confirming all of this as part of Variscite Four’s

application in the Adult Use Application Program. Variscite Four meets all eligibility requirements

for “extra priority” in the Adult Use Application Program except that its majority owner was

convicted of a cannabis offense under California law rather than New York law and he lived in a

community disproportionately impacted by cannabis prohibition in California rather than New

York.

        5.     Variscite Five is majority owned (51%) by an individual who was convicted of a

cannabis offense in California under California law. He was not convicted of a cannabis offense

in New York or under New York law. He lived in an area the City of Los Angeles designated as a

disproportionately impacted area for cannabis enforcement for more than seven years. He resides

in Los Angeles County and has a household income less than 80% of the median household income

of Los Angeles County. I submitted paperwork confirming all of this as part of Variscite Five’s

application in the Adult Use Application Program. Variscite Five meets all eligibility requirements

for “extra priority” in the Adult Use Application Program except that its majority owner was

convicted of a cannabis offense under California law rather than New York law and he lived in a

community disproportionately impacted by cannabis prohibition in California rather than New

York.

        6.     Under Local Rule 7.1 (a), a moving party must file all motion papers with the Court

and serve them upon opposing counsel who must file and serve its opposition papers not less than

twenty-one (21) days after service of the motion.




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        7.      The last day to submit materials for the Adult Use Application Program was

December 18, 2023.

        8.      Defendants’ previous application program for the Adult-Use Retail Dispensary

(“CAURD”) was held from August 25, 2022 through September 26, 2022 (the “CAURD

Application Program”).

        9.      Upon information and belief, Defendants are now in the process of reviewing adult

use cannabis retail dispensary applications to issue licenses (“Licenses”).

        10.     Defendants have stated that they will issue a limited number of Licenses . This is

confirmed in the FAQ document attached to my Affirmation in support of the Application for

Temporary Restraining Order.

        11.     As set forth in greater detail in the Complaint (attached hereto as Exhibit “A”),

New York’s Cannabis Law impermissibly favors New York residents over residents of other states

in violation of the dormant Commerce Clause. As such, Plaintiffs will not be granted a License

by Defendants.

        12.     That Defendants’ unconstitutional Adult Use Application Program subjects

Plaintiffs to (i) violations of their constitutional rights and (ii) irreparable harm.

        13.     For these reasons, Plaintiffs respectfully request that the Court find that good and

sufficient cause exists why the standard notice of motion procedure cannot be used.

        14.     Accordingly, Plaintiffs respectfully request that this Court accept Plaintiffs’

accompanying Order to Show Cause.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



       Executed on this 21st day of December, 2023 at Los Angeles County, California.




                                                                   Jeffrey Jensen




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